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      In The United States Court of Federal Claims
                                          No. 07-309T

                                      (Filed: April 15, 2011)
                                            __________
 DONALD L. DYKSTRA and
 ALBERTHA M. DYKSTRA,

                        Plaintiffs,

        v.

 THE UNITED STATES,

                        Defendant.
                                           __________

                                            ORDER
                                           __________

        On March 29, 2011, Judge Block issued an order requiring the parties to file a joint status
report on or before May 13, 2011. The parties are hereby relieved of that obligation. Instead, on
or before May 13, 2011, defendant shall file its response to plaintiff’s amended complaint, with
the applicable provisions of the RCFC to apply thereafter.

       IT IS SO ORDERED.



                                                        s/ Francis M. Allegra
                                                        Francis M. Allegra
                                                        Judge
